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AO 442 (Rev. 11111) Arrest Warrant



                                                                 UNITED STATES DISTRICT COURT
                                                                                                                         for the

                                                                                                        District         of Columbia


                             United States of America'
                                         v.                                                                                )
                                                                                                                           )
                                                                                                                                 Case: 1:23"'mj-00085
                                      Jeanette           Mangia
                                                                                                                           )     Assigned To : Upadhyaya] Moxila A.
                                                                                                                           )     Assign. Date: 4/24/2023             I
                                                                                                                           )
                                                                                                                           )
                                                                                                                                 Description: Complaint WI Arrest Warrant
                                              Defendant

                                                                                              ARREST WARRANT
To:           Any authorized                  law enforcement                 officer


              YOU ARE COMMANDED                                          to arrest and bring before a United States magistrate judge without unnecessary                                            delay
(name a/person to be arrested)                       Jeanette Man ia
                                                     ~==~~==~"=---------------------------------------------------------+-
who is accused of an offense or violation based on the following                                                               document filed with the court:

o     Indictment                          o    Superseding               Indictment                        o         Information          o   Superseding   Information            N Complaint
o     Probation Violation Petition                                      o    Supervised                Release Violation Petition                    o Violation    Notice         0 Order of the Court

This offense is briefly described as follows:
18 u.s.c. § 111(3)(1) (Assaulting, Resisting, or Impeding CcrL1in Officers)
18 U.S.c. § 1752(3)(1) (Entering and Remaining in a Restricted Building or Grounds)
18 US.C § 1752(3)(2) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds)
18 U.S.c. § 1752(3)(4) (Engaging in Physical Violence in a Restricted Building or Grounds)
40 U.S.c. § 5104{e)(2)(A) (Entering and Remaining       on the Floor of Congress)
40 U.S.c. § 5104(e)(2)(C)   (Entering and Remaining     in Certain Rooms in the Capitol Building)
40 U.S.c. § 5104(e)(2)(D)   (Disorderly   Conduct   in a Capitol Building)
40 U.S.c. § 5104(e)(2)(F)(Act   of Physical Violence in the Capitol Grounds or Buildings)
40 U.S.C § 5104(e)(2)(G)(Parading.    Demonstrating. or Picketing in a Capitol Building)
                                                                                                                                                                    Digitally signed by Moxila A.
                                                                                                                                Moxila A. Upadhyaya                 Upadhyaya
                                                                                                                                                                    Date: 2023.04.24 17:08:11 -04'00'
Date:                 04/24/2023
                                                                                                                                                     Issuing officel"s signature

                                                                                                                               Moxila     A. Upadhyaya,      U.S. Magistrate         Judge
City and state:                                       Washington,             D.C.
                                                                                                                                                       Printed name and title


                                                                                                                       Return

                                                                                    _Lf_,_·.,_/""Al-H-4/l,.,_cv,=3              , and
           This warrant was received on (date)
                                                                                          , .,                                          the person was arrested on (date)
at (city and state)  N.(.W C.lAvv-6v10¥) J , P.t\
